AO98 (Rev. 12/11) Appearance Elond



                                      United States District Court
                                                                  for the

                                                       District of Massachusetts

                   United States of America
                                 V.
                      TANMAYA KABRA
                                                                              Case No. 19-10335-DJC


                             Defendant

                                                        APPEARANCE BOND


                                                       Defendant's Agreement
1,                          Tanmaya Kabra                            (defendant), agree to follow every order ofthis court, orany
court that considers this case,and 1further agreethat this bond may be forfeited if I fail:
              ( X )          to appear for court proceedings;
              ( X )          ifconvicted, to surrenderto serve a sentence that the court may impose;or
              ( X )          to comply with all conditions set forth in theOrder Setting Conditions of Release.

                                                              Type of Bond

(     ) (1) This is a personal recognizance bond.

(     ) (2) This is an unsecured bond of $                                                 .

( X ) (3) Thisis a secured bondof $ 250.000.00                                     , secured by:

        { X ) (a) $ 250,000.00                      , in cash deposited with the court.

        (     ) (b) the agreement of the defendant and eachsurety to forfeit the following cash or other property
                 (describe the cash or otherproperty, including claimson it —such as a lien, mortgage, or loan —and attachproofof
                 ownership and value):



                 If this bond is secured by real property, documents to protectthe secured interest may be filed of record.

        (     ) (c) a bail bond with a solvent surety (attach a copy of thebailbond, or describe it and identify thesurety):




                                                 Forfeiture or Release of the Bond

Forfeilureofthe Bond, This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediatelyorder the amount ofthe bond surrendered to the United States, includingthe
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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Release ofthe Bond. The court may order this appearance bond ended at any lime. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.


                                                                Declarations


Ownerihip oflite Property. I, the defendant - and each surety - declare under penalty ofperjury that:
         (1)             ail owners ofthe property securing this appearance bond are included on the bond;
         (2)             the property is not subject toclaims, except as described above; and
         (3)             I will not sell the property, allow funher claims to be made against it, or do anything to reduce its value
                         while this appearance bond is in eJTect.
Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.



I, the defendant -and each surety - declare under penalty ofperjury that this information is true. (See 28 U.S.C. § 1746.)


               /     /      /                                                                 Defendant's signature




                   Surety/property owner —printed name                              Surety/property ownei—signature and date



                   Surety/property owner—printed name                               Surety/property owner—signature and date



                   Surely/property owiier —primedname                               Surety/firoperty owner—signature and dale




                                                                       CLERK OF COURT




Da,=(2cH3SZ5                                                                           Signature ofGlerkor DeputyClerk


Approved.

Date:
                                                                                                Judge's signatiin
